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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


HOMESTEAD FUNDING CORP.,                                       STIPULATION OF
                                                               VOLUNTARY DISMISSAL
                       Plaintiff,                              PURSUANT TO F.R.C.P.
                                                               41(a)(1)(A)(ii)
       -against-
                                                               Case No. 1:22-cv-00853-BKL-ML
FAIRWAY INDEPENDENT MORTGAGE
CORPORATION,

                       Defendant.



STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)


       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, as

counsel for the parties hereto, that whereas no party hereto is an infant or incompetent person for

whom a committee has been appointed, the above-entitled action is hereby voluntarily dismissed,

with prejudice, against Defendant Fairway Independent Mortgage Corporation, pursuant to the

Federal Rules of Civil Procedure 41(a)(1)(A)(ii), without costs or fees as against any party.


 WHITEMAN OSTERMAN & HANNA LLP                     OGLETREE, DEAKINS, NASH,
                                                    SMOAK & STEWART, P.C.


 By: _/s/ Donald T. Kinsella                       By: /s/ Simone R. D. Francis
      Donald T. Kinsella                               Simone R. D. Francis
      Anna V. Pinchuk                                  Matthew P. Gizzo
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 Attorneys for Plaintiff                           Attorneys for Defendant

 Dated: Albany, New York                           Dated: New York, New York
        February 8, 2023                                  February 8, 2023




                                                                                     February 9, 2023
